              Case 1:21-cv-02337-ELH Document 122 Filed 03/09/22 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND
          CHAMBERS OF                                                                  101 WEST LOMBARD STREET
     A. DAVID COPPERTHITE                                                             BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                                (410) 962-0946
                                                                                     MDD_ADCchambers@mdd.uscourts.gov

                                               March 9, 2022

                     ORDER SCHEDULING SETTLEMENT CONFERENCE

       Re:    St. Michael’s Media, Inc. v. The Mayor and City Council of Baltimore, et al.
              Civil No. ELH-21-2337

Dear Counsel:

       The above-referenced case has been referred to me to conduct a settlement conference. I have
scheduled a virtual settlement conference for Tuesday, August 23, 2022 at 10:00 a.m. The Court has been
provided with ZoomGov, a licensed version of Zoom with added security. Accordingly, I will be running
our conference on that platform. The recording feature will be disabled and I will setup separate breakout
rooms for the parties once we complete the common introductory session. If you have any issues or
questions regarding proceeding remotely, please send me an ex parte email to my chambers email address.
If you no longer wish to have the scheduled conference, wish to postpone to a future date or have any further
questions, please contact chambers.

       Please note that three hours have been set aside for the conference and those in attendance should
plan accordingly. Counsel should expect a telephone call from me within a few days of the settlement
conference. Please review this letter completely, as it is an Order that establishes certain prerequisites that
must be fulfilled prior to the settlement conference.

       I require that the plaintiff submit a written demand to the defendant prior to the settlement
conference. The defendant shall submit a written offer to the plaintiff within one week of receiving the
demand. The demand and offer shall be included with the ex parte letters submitted to the Court.
Failure to comply with these requirements may result in the postponement of the settlement conference or
the possible imposition of sanctions.

        It is essential that the parties, or in the case of a corporation, partnership, or government entity, a
representative, with complete authority to enter into a binding settlement, be present. A person with
complete authority is someone who has full settlement authority without having to consult with anyone who
is not in attendance. Attendance by the attorney for a party is not sufficient. Please provide the name and
title of the individuals attending the settlement conference. Please note that individuals who are not a
party to the case will not be permitted to attend the settlement conference.

       No later than Tuesday, August 09, 2022, I would like to receive a short ex parte letter by email
(mdd_adcchambers@mdd.uscourts.gov). The ex parte letter should not exceed five pages and should
candidly setting forth the following:

       (1)   facts you believe you can prove at trial;
              Case 1:21-cv-02337-ELH Document 122 Filed 03/09/22 Page 2 of 2

Civil No. ELH-21-2337
March 9, 2022
Page 2

       (2)   the major weaknesses in each side's case, both factual and legal;

       (3)   identify any pending dispositive or other motions that would have a
             significant effect on settlement;

       (4)   an evaluation of the maximum and minimum damage awards you believe likely;

       (5)    if your client will take the position at settlement that a lack of resources will impact
             your client's ability to pay any judgment, then documentation to support that claim
             should be provided to opposing counsel prior to the settlement conference. If your client
             is unwilling to provide the documentation to opposing counsel, it is your responsibility
             to notify the Magistrate Judge assigned to settlement to explain your client's position
             before the settlement conference. The Magistrate Judge assigned to settlement will
             determine whether to proceed with the settlement conference;

       (6)   the history of any settlement negotiations to date;

       (7)   estimate of attorneys’ fees and costs of litigation through trial; and

       (8)   the name and title of the individual(s) who will be attending the conference.

             PLEASE NOTE: The ZoomGov invite will be emailed to Counsel.
             Counsel are asked to forward the email with the link to their client.

        The letters will be solely for my use in preparing for the settlement conference. Additionally, if you
want me to review any case authorities that you believe are critical to your evaluation of the case, please
identify them. If you want me to review any exhibits, please attach a copy to your letter by email.

        The settlement conference process will be confidential and disclosure of confidential dispute
resolution communications is prohibited. See 28 U.S.C. §652(d).

       The American Bar Association Standing Committee on Ethics and Professional Responsibility has
issued a Formal Opinion (No. 93-370) which precludes a lawyer, ABSENT INFORMED CLIENT
CONSENT, from revealing to a judge the limits of the lawyer's settlement authority or the lawyer's advice
to the client regarding settlement. The opinion does not preclude a judge, in seeking to facilitate a
settlement, from inquiring into those matters. Therefore, please discuss these items with your client before
appearing for the settlement conference.

       Despite the informal nature of this letter, it is an Order of the Court and will be docketed
accordingly.
                                                      Very truly yours,

                                                              /s/

                                                      A. David Copperthite
                                                      United States Magistrate Judge
